Case 2:02-cv-01185-SSV Document 137 Filed 06/21/05 Page 1 of 1

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
COMMERCIALIZADORA PORTIMEX CIVIL ACTION
S.A. DE CV
NO: 02-1185
VERSUS

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ZEN-NOH GRAIN CORPORATION SECTION: "R" (1)

AMENDED JUDGMENT

Considering the Court’s order and reasons on file herein,

IT IS ORDERED, ADJUDGED, AND DECREED that Commercializadora
Portimex, S.A. de C.V. and its principals and agents are
preliminarily and permanently enjoined from pursuing the action
filed in the Sixth District Court for Civil Matters of the Federal
District of the United Mexican States, entitled Comercializadora
Portimex, S.A. de C.V. vs Zen-Noh Grain (Export) Division of Zen-
Noh Grain Corporation and are further ordered to dismiss the action
with prejudice by Tuesday, June 28, 2005.

not
New Orleans, Louisiana, this 2( aay of June, 2005.

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UNITED STATES DISTRICT JUDGE X_ Dktd
__ CtRmDe \

__. Doc. No. .

